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AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal] Case

UNITED STATES DISTRICT COURT

for the
District of Columbia [=]

United States of America )

Vy )
Thomas Webster ) Case No, 1:21-CR-208

)

Defendant )
SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
OBJECTS IN A CRIMINAL CASE

FOIL Unit, Legal Bureau, 1 Police Plaza, Room 110C, New York, New York 10038

To: atin: Lt. Richard Mantellino

(Name of person to whom this subpoena is directed)

YOU ARE COMMANDED to produce at the time, date, and place set forth below the following books, papers,

documents, data, or other objects:
Thomas Webster's entire Personnel File with the New York Police Department, including, but not limited to: 1) disciplinary

records, 2) Central Personnel Index records, 3) commendations and/or citations, 4) character and fitness records

 

 

Place: errr nwine P.C. Date and Time: 94/30/2021 2:00 pm

Goshen, New York 10924

 

 

 

 

Certain provisions of Fed. R. Crim. P. 17 are attached, including Rule 17(c)(2), relating to your ability to file a
motion to quash or modify the subpoena; Rule 17(d) and (e), which govern service of subpoenas; and Rule 17(g),
relating to your duty to respond to this subpoena and the potential consequences of not doing so.

(SEAL) ;
Date April 2021 2021.04.12
17:43:43
-04'00'

HON. AMIT P. MEHTA

SO ORDERED:

 

The name, address, e-mail, and telephone number of the attorney representing (name of party) Thomas Webster
, who requests this subpoena, are:

 

 

 

Dupee & Monroe, P.C., 211 Main Street, P.O. Box 470, Goshen, New York 10924; jim@dupeemonroelaw.com; (845)
294-8900

Notice to those who use this form to request a subpoena
Before requesting and serving a subpoena pursuant to Fed. R. Crim. P. 17(c), the party seeking the subpoena is advised to
consult the rules of practice of the court in which the criminal proceeding is pending to determine whether any local rules
or orders establish requirements in connection with the issuance of such a subpoena. If no local rules or orders govern
practice under Rule 17(c), counsel should ask the assigned judge whether the court regulates practice under Rule 17(c) to
1) require prior judicial approval for the issuance of the subpoena, either on notice or ex parte; 2) specify where the
documents must be returned (e.g., to the court clerk, the chambers of the assigned judge, or counsel’s office); and 3)
require that counsel who receives produced documents provide them to opposing counsel absent a disclosure obligation

under Fed. R. Crim. P. 16.

Please note that Rule 17(c) (attached) provides that a subpoena for the production of certain information about a victim
may not be issued unless first approved by separate court order.
